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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )                       1:21-cr-000218 (APM)
                                    )
CHRISTY CLARK                       )
                                    )
___________________________________ )



                 MOTION TO FILE MEDICAL RECORD UNDER SEAL

       Christy Clark, through undersigned counsel, respectfully moves this Court to permit her

file under seal her medical records which contain personal documentation of her medical

conditions which should not be open to the public view.

                                             Respectfully submitted,

                                             ELITA C. AMATO

                                             /s/

                                             ______________________

                                            Elita C. Amato, Esq.
                                            2111 Wilson Blvd.,
                                                     8th Floor
                                            Arlington, VA 22201
                                            Tele: 703-522-5900

                          CERTIFICATE OF SERVICE

I hereby certify that this Motion was sent electronically to Government counsel at on
this 26th day of October 2022, thereby, providing service electronically upon all
parties in this case.

                                    /s/
                                   Elita C. Amato
